       CASE 0:06-cr-00185-PJS-FLN        Doc. 77   Filed 10/16/06    Page 1 of 1




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


United States of America,                              Crim. No. 06-185(01) (PJS/FLN)

                            Plaintiff,

v.                                                                             ORDER

Rosbel Lopez,

                            Defendant.


      This matter is before the Court on the Report and Recommendation (“R&R”) of

United States Magistrate Judge Franklin L. Noel dated September 11, 2006. No objections

have been filed to the R&R in the time period permitted. Accordingly, IT IS HEREBY

ORDERED that:

      1.     The R&R (Docket No. 75) is ADOPTED; and

      2.     Defendant’s Motion to Suppress Fruits of Search and Seizure (Docket No. 53)

             is DENIED.



Dated: October 16, 2006

                                               s/ Paul A. Magnuson
                                               Paul A. Magnuson
                                               United States District Court Judge
